Case 4:23-cv-01175-O        Document 190        Filed 05/02/25     Page 1 of 9     PageID 5738



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 X CORP.,                                       §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §    Civil Action No. 4:23-CV-01175-O
                                                §
 MEDIA MATTERS FOR AMERICA,                     §
 ET AL.,                                        §
                                                §
      Defendants.                               §

                                            ORDER

         Before the Court are Defendants’ Notice of Motion to Transfer Venue (ECF No. 152), filed

March 6, 2025; Plaintiff’s Response in Opposition (ECF No. 168-3), filed March 27, 2025; and

Defendants’ Reply (ECF No. 172-1), filed April 10, 2025. After examining the arguments and

authorities, the Court DENIES Defendants’ Motion.

 I.     BACKGROUND

         On November 20, 2023, X Corp. (“Plaintiff” or “X”) brought this action against Media

Matters for America, Eric Hananoki, and Angelo Carusone (collectively, “Defendants”) for claims

of interference with contract, business disparagement, and interference with prospective economic

advantage. Pursuant to these claims, Plaintiff alleges that Defendants knowingly and maliciously

fabricated side-by-side images on Plaintiff’s X platform of various advertisers’ posts that X

depicted next to neo-Nazi or other extremist content and portrayed these designed images as if

they were what the average user experiences on the X platform. Plaintiff asserts that Defendants

proceeded with this course of action in an effort to harm the X platform by publicly portraying X

as a social media platform dominated by neo-Nazism and anti-Semitism, and thereby alienate

major advertisers, publishers, and users from the X platform.

                                                1
Case 4:23-cv-01175-O         Document 190        Filed 05/02/25       Page 2 of 9      PageID 5739



       In the present Motion, Defendants request the Court transfer this action to the Northern

District of California or, alternatively, dismiss this action. The parties have briefed the issues,

which are ripe for the Court’s review.

II.   LEGAL STANDARDS

       A. Waiver of Forum Selection Clause

       There are two approaches for evaluating whether a party waives the right to seek

enforcement of a forum selection clause. Hampton v. Equity Tr. Co., 736 F. App’x 430, 435 (5th

Cir. 2018). The first approach is the traditional waiver analysis where a right is relinquished if a

party “intentionally or voluntarily relinquished its rights under the clause.” Id. (quoting Wellogix

v. SAP Am. Inc., 648 F. App’x 398, 401 (5th Cir. 2016)). This approach requires “(1) an existing

right, benefit, or advantage; (2) actual or constructive knowledge of its existence; and (3) actual

intent to relinquish that right.” SGIC Strategic Glob. Inv. Cap., Inc. v. Burger King Eur. GmbH,

839 F.3d 422, 426 (5th Cir. 2016) (quoting GP Plastics Corp. v. Interboro Packaging Corp., 108

F. App’x 832, 836 (5th Cir. 2004)). Under this approach “[w]aiver can also occur if a party engages

in ‘conduct so inconsistent with the intent to enforce the right as to induce a reasonable belief that

it has been relinquished.’” Id. (quoting N. Am. Specialty Ins. v. Debis Fin. Servs., Inc., 513 F.3d

466, 470 (5th Cir. 2007)).

       Under the second approach, “the party to the [forum selection] clause waives its right if it

‘(1) substantially invokes the judicial process [in derogation of the forum selection clause] and (2)

thereby causes detriment or prejudice to the other party.’” SGIC Strategic, 839 F.3d at 426–27

(alterations in original) (quoting Wellogix, 648 F. App’x at 402).




                                                  2
Case 4:23-cv-01175-O          Document 190         Filed 05/02/25       Page 3 of 9       PageID 5740



        B. Motions Under 28 U.S.C. § 1404(a) and 28 U.S.C. § 1406(a)

        “For the convenience of parties and witnesses, in the interest of justice a district court may

transfer any civil action to any other district or division where it might have been brought.”

28 U.S.C. § 1404(a). In considering motions to transfer venue under 28 U.S.C. § 1404(a), district

courts consider “the convenience of the parties and various public-interest considerations.” Atl.

Marine Constr. Co. v. U.S. Dist. Ct. for W. Dist. of Tex., 571 U.S. 49, 62 (2013). “District courts

have broad discretion in deciding whether to order a transfer.” In re Volkswagen of Am. Inc., 545

F.3d 304, 311 (5th Cir. 2008) (internal quotation marks and citations omitted). If a district court

holds venue is improper, it “shall dismiss, or if it be in the interest of justice, transfer such case to

any district or division in which it could have been brought.” 28 U.S.C. § 1406(a). Section 1406(a)

allows dismissal only when venue is “wrong” or “improper.” Atl. Marine, 571 U.S. at 55.

III.   ANALYSIS

       This action has been pending in the Northern District of Texas for over five hundred days.1

For the first time since litigation commenced and after eleven motions filed by Defendants,2

numerous substantive and discovery orders by the Court, one threat of seeking mandamus relief,3

and with a pending interlocutory appeal,4 Defendants ask the Court to transfer this case to the

Northern District of California. This Motion is untimely, improper, and comes at the expense of

Plaintiff’s and the Court’s resources. For the following reasons, the Motion is DENIED.


1
  See Pl.’s Original Compl., ECF No. 1 (filed November 20, 2023).
2
  See Defs.’ Mot. to Dismiss Pl.’s Original Compl., ECF No. 31; Defs.’ Mot. to Stay Disc. Pending Ruling
on Mot. to Dismiss, ECF No. 35; Defs.’ Mot. to Dismiss Pl.’s Am. Compl., ECF No. 40; Defs.’ Renewed
Mot. to Stay Disc. Pending Ruling on Motion to Dismiss, ECF No. 43; Defs.’ Mot. to Compel Corrected
Certificate of Interested Person, ECF No. 73; Defs.’ Mot. to Certify Immediate Appeal, ECF No. 93; Defs.’
Emergency Mot. to Stay; ECF No. 99; Defs.’ Mot. to Compel Disc. Resp., ECF No. 113; Defs.’ Mot. to
Compel Disc., ECF No. 182; Defs.’ Mot. for Leave to Increase Dep. and to Amend Scheduling Order, ECF
No. 185; Defs.’ Mot. for Status Conference, ECF No. 186.
3
  Defs.’ Reply in Supp Mot. to Certify Immediate Appeal 1, ECF No. 120.
4
  Notice of Interlocutory Appeal, ECF No. 101.

                                                   3
Case 4:23-cv-01175-O           Document 190           Filed 05/02/25        Page 4 of 9        PageID 5741



        A. Defendants cannot move to transfer for the first time at this point in litigation.

        Defendants argue that “[u]nder any legal framework, this Court should transfer the case.”5

Specifically, Defendants advance three sources of authority for the Court to transfer this action:

(1) the forum selection clause in X’s terms of service; (2) 28 U.S.C. § 1404(a); and

(3) 28 U.S.C. § 1406(a). The Court addresses each in turn below.

            1. Forum Selection Clause

        Plaintiff (and Judge Chhabria)6 insist that this Court must address “whether Media Matters

forfeited its right to assert the forum selection clause in the Texas case by waiting so long to file a

motion based upon it.”7 Because of Defendants’ delayed request to transfer—despite their

knowledge of the forum selection clause—and the prejudice in transferring this case now, there is

no legal approach that supports transferring this case.

        Applying the traditional (i.e., the first) approach to waiver of a forum selection clause,

Defendants argue that because they “have consistently challenged venue since right after X filed

suit,” their conduct was consistent with the intent to enforce the forum selection clause.8 However,

Defendants never requested to transfer venue until this delayed instant Motion.9 Instead,

Defendants have requested dismissal for improper venue.10 Further, Defendants previously cited




5
  Defs.’ Br. in Supp. Mot. to Transfer Venue 2, ECF No. 153-1.
6
  Judge Chhabria is presiding over a related action where Media Matters sued X for breach of contract for
filing this lawsuit in the Northern District of Texas instead of the Northern District of California. See Media
Matters for Am. et al. v. X Corp. et al., No. 3:25-CV-02397-VC (N.D. Cal. 2025) (Chhabria, J.).
7
  Pl.’s Br. in Opp’n Mot. to Transfer Venue 4, ECF No. 168-3 (quoting Order Denying Request For TRO
1–2, Mar. 17, 2025, Media Matters for Am. et al. v. X Corp. et al., No. 3:25-CV-02397-VC (N.D. Cal.
2025) (Chhabria, J.)).
8
  Defs.’ Br. in Supp. Mot. to Transfer Venue 10, ECF No. 153-1.
9
   The Court previously noted that Defendants did not request to transfer this action; they only moved to
dismiss. See Order 12 n. 27, August 29, 2024, ECF No. 82.
10
   See Defs.’ Mot. to Dismiss, ECF No. 40; Defs.’ Br. in Supp. Mot. to Dismiss, ECF No. 41.

                                                      4
Case 4:23-cv-01175-O            Document 190         Filed 05/02/25     Page 5 of 9       PageID 5742



to Plaintiff’s terms of service without requesting a venue transfer.11 Thus, while Defendants have

preserved a dismissal challenge to venue, they have not done the same for transfer.

          Under the first approach, the pressing question remains: Has Defendants’ conduct been

inconsistent with the intent to enforce the right? Said another way, is waiting over a year and a

half, moving to dismiss a case on the merits (twice), engaging in numerous discovery disputes,

and appealing an unfavorable decision to the Fifth Circuit consistent with the intent to transfer this

action to the Northern District of California? The answer must be no. Otherwise, litigants could

abuse the judicial process by first filing a Federal Rule of Civil Procedure 12(b)(3) motion to

dismiss, then a motion for reconsideration, a motion for interlocutory appeal, and a motion for

mandamus relief, all before invoking a forum selection clause. Failing to ask the Court to transfer

this action, especially given that transfer can be requested in the alternative to dismissal, is patently

inconsistent “with the intent to enforce the right” of transferring this action such that the only

reasonable conclusion is that Defendants “relinquish that right.” Hampton, 736 F. App’x at 435

(citation omitted). Having determined that Defendants waived their right to transfer under the first

approach, the Court now considers the second approach.

          Under the second approach, the Court must consider whether Defendants “(1) substantially

invoke[d] the judicial process [in derogation of the forum selection clause] and (2) thereby

cause[d] detriment or prejudice to the other party.” SGIC Strategic, 839 F.3d at 426–27 (second

alteration in original). Defendants have “substantially invoke[d] the judicial process” by their

actions in this litigation, most conspicuously by moving to dismiss this case and appealing to the

Fifth Circuit. Considering the excessive delay and the extensive motions practice that has occurred

in this action, Defendants’ actions have prejudiced Plaintiff. For the Court to transfer this action



11
     Defs.’ Br. in Supp. Mot. to Dismiss 10, ECF No. 41.

                                                     5
Case 4:23-cv-01175-O          Document 190          Filed 05/02/25        Page 6 of 9       PageID 5743



at the current stage in litigation would further exacerbate Plaintiff’s prejudice. Accordingly, the

Court holds that Defendants have waived any contractual right to transfer venue they may have

had.12 Under both approaches, Defendants have waived their right to transfer this action under the

forum selection clause. The Court next considers transfer under 28 U.S.C. § 1404(a) or 28 U.S.C.

§ 1406(a).

             2. 28 U.S.C. § 1404(a) and 28 U.S.C. § 1406(a)

        The Court addresses transfer under § 1404(a) and § 1406(a) together because the timeliness

analysis overlaps. Section 1404 “does not contain a deadline for filing the motion to transfer venue,

and a motion to transfer venue under § 1404 can be made at any time.” Watson v. Fieldwood

Energy Offshore, LLC, 181 F. Supp. 3d 402, 411 n.7 (S.D. Tex. 2016). Section 1406 also does not

have a deadline. That said, “[p]arties seeking a change of venue should act with reasonable

promptness.” Peteet v. Dow Chem. Co., 868 F.2d 1428, 1436 (5th Cir. 1989) (internal quotation

marks and citation omitted). Defendants argue they filed their Motion with “reasonable

promptness” because they sought “transfer soon after the Court denied certification of its order

finding personal jurisdiction and venue in this district and based on recent discovery that shows

the Northern District of California to be the most convenient forum.”13 Peteet, 868 F.2d at 1436.

Defendants, however, mischaracterize the litigation in this action.

        First, Defendants did not “soon after” the denial of certification of an immediate appeal

seek to transfer venue. Instead, they waited over three months.14 Second, though Defendants assert

that newly discovered evidence “shows the Northern District of California to be the most



12
   Because Defendants did not assert the forum selection clause in a timely manner, the Court does not reach
the questions of whether the clause is enforceable or who can enforce the clause.
13
   Defs.’ Br. in Supp. Mot. to Transfer Venue 21, ECF No. 153-1.
14
   The Court issued its Order denying Defendants Motion on January 2, 2025. Defendants did not file their
Notice of Motion to Transfer Venue until March 6, 2025.

                                                     6
Case 4:23-cv-01175-O         Document 190          Filed 05/02/25       Page 7 of 9       PageID 5744



convenient forum,” the discovery period in this case is not closed and a discovery issue is currently

pending before the Fifth Circuit. Moreover, Defendants cite no caselaw that would indicate they

were required, or even encouraged, to wait for the Court’s order on interlocutory appeal before

requesting transfer. Instead, when litigants file a Rule 12(b)(3) motion to dismiss for improper

venue, they typically ask a court, in the alternative, to transfer under 28 U.S.C. § 1404(a) or

28 U.S.C. § 1406(a).

        Specifically, as to their § 1404(a) argument, Defendants argue delay and prejudice are only

considered “in rare and special circumstances.”15 Defendants characterize In re Horseshoe

Entertainment as “granting mandamus and transferring case under § 1404 more than two years

after suit.”16 337 F.3d 429, 434 (5th Cir. 2003). As such, Defendants cite Horseshoe Entertainment

to argue that their Motion is timely.17 Contrary to Defendants argument Horseshoe Entertainment

is inapposite as to timeliness. Horseshoe Entertainment addressed whether prejudice and delay can

be considered as one of the factors under § 1404. Id. (“We think the Middle District Court erred

in considering and giving weight to the factor of ‘possibility of delay or prejudice if transfer is

granted.’”). Horseshoe Entertainment did not address the “reasonable promptness” standard for

filing a motion to transfer venue under § 1404. Peteet, 868 F.2d at 1436. Instead, the Fifth Circuit

explained that it was the district court that delayed 13 months in considering the motion, not the

defendant who waited 13 months to file the motion. Horseshoe Entertainment, 337 F.3d at 433

(“For reasons not readily discernable from the record or the parties’ briefing, the Middle District

Court waited some 13 months . . . to rule on [the defendant]’s motion to transfer.”). Further, the



15
   Defs.’ Br. in Supp. Mot. to Transfer Venue 23, ECF No. 153-1 (quoting In re Horseshoe Entertainment,
337 F.3d 429, 434 (5th Cir. 2003)).
16
   Id.
17
   See id. at 21–23 (citing Horseshoe Entertainment in the section titled “Defendants’ Motion to Transfer
is timely.”).

                                                   7
Case 4:23-cv-01175-O          Document 190         Filed 05/02/25        Page 8 of 9       PageID 5745



facts of Horseshoe Entertainment undermine Defendants’ argument because there, the defendant

filed its motion to transfer before its answer. Id. Here, Defendants filed numerous motions before

requesting transfer.18

        Regarding transfer under 28 U.S.C. § 1406(a), this provision governs transfer from an

improper venue. See Atl. Marine, 571 U.S. at 55. Section 1406(a) does not apply here because, as

explained below, the Northern District of Texas is a proper venue. Accordingly, even if the Motion

to Transfer under 28 U.S.C. § 1406(a) was timely—and it is not—the provision would not apply.

        The Court does not consider “the convenience of the parties and various public-interest

considerations” for Defendants’ Motion to Transfer under 28 U.S.C. § 1404(a) because

Defendants’ Motion is not timely. Atl. Marine, 571 U.S. at 62. Defendants’ Motion under 28

U.S.C. § 1406(a) is also untimely, in addition to being inapplicable.

        Defendants have requested this Court dismiss the case based on venue for over a year, but

only now do they request transfer. This is improper. Thus, the Court concludes that Defendants

did not act with “reasonable promptness” and the Motion to transfer under 28 U.S.C. §

1404(a) and 28 U.S.C. § 1406(a) is DENIED. Peteet, 868 F.2d at 1436.

        B. The Northern District of Texas is a proper venue for this action.

        Finally, Defendants request dismissal under 28 U.S.C. § 1406(a).19 Section 1406(a)

“authorize[s] dismissal only when venue is ‘wrong’ or ‘improper’ in the forum in which it was

brought.” Atl. Marine, 571 U.S. at 55. Defendants continue to argue “no substantial part of the

events giving rise to this claim arose” in the Northern District of Texas.20 For dismissal under

28 U.S.C. § 1406(a) to apply the Northern District of Texas must be an improper venue.



18
   See supra note 2. Of Defendants’ eleven motions, nine of which predate Defendants’ request to transfer.
19
   Defs.’ Br. in Supp. Mot. to Transfer Venue 24, ECF No. 153-1.
20
   Id.

                                                    8
Case 4:23-cv-01175-O        Document 190         Filed 05/02/25     Page 9 of 9      PageID 5746



Defendants’ discovery evidence is insufficient to support their position that the Northern District

of Texas is an improper venue. Therefore, the Court reaffirms its previous holding that venue is

proper in the Northern District of Texas. Accordingly, the Court DENIES Defendants Motion to

Dismiss pursuant to 28 U.S.C. § 1406(a).

IV.   CONCLUSION

       Because Defendants have litigated this case for over a year without requesting transfer,

Defendants’ Motion to Transfer Venue based on the forum selection clause, 28 U.S.C. § 1404, or

28 U.S.C. § 1406 is DENIED. The Court also DENIES Defendants’ Motion to Dismiss based on

28 U.S.C. § 1406(a).

       Defendants’ Motion reflects a pattern of “[g]amesmanship,” which the Court previously

warned Defendants about.21 As Plaintiff explains, Defendants’ present Motion may indicate that

they waited to “learn[] ‘which way the wind was blowing’” before requesting transfer.22

Accordingly, Plaintiff is ORDERED to file a brief explaining whether Defendants’ conduct

should be sanctioned and, if so, detailing the Court’s authority to sanction Defendants’ conduct.

Plaintiff shall file this brief no later than May 21, 2025.

       SO ORDERED on this 2nd day of May, 2025.



                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE




21
  Mem. Op. & Order 4 & n.3, 8, August 16, 2024, ECF No. 81.
22
  Pl.’s Br. in Opp’n Mot. to Transfer Venue , ECF No. 168-3 (quoting Edwards Vacuum, LLC v. Hoffman
Instrumentation Supply, Inc., No. 3:20-CV-1681-SI, 2021 WL 2355405, at *6 (D. Or. June 9, 2021)).

                                                 9
